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                         UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLUMBIA


JOHN DOE,

                    Petitioner,

                    v.                             No. 17-cv-2069 (TSC)

GEN. JAMES N. MATTIS,
 in his official capacity as SECRETARY OF
 DEFENSE,

                    Respondent.




                                    ECF 97


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                                          UNDER SEAL


                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


JOHN DOE,

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GEN. JAMES N. MATTIS,                                              UNDER SEAL
 in his official capacity as SECRETARY OF
 DEFENSE,

                       Respondent.


             APPLICATION FOR A TEMPORARY RESTRAINING ORDER

       Pursuant to Federal Rule of Civil Procedure 65 and Local Rule 65.1, Petitioner John Doe

hereby applies for the issuance of a temporary restraining order prohibiting Respondent (along

with his respective successors in office, officers, agents, servants, employees, and anyone acting

in concert with him) from releasing Petitioner into an area the government has itself repeatedly

described as an active battlefield in Syria, that the government itself continues to describe as

exceedingly dangerous, and that is controlled by the same forces who have already demonstrated

their hostility to Petitioner by shooting at him, beating him, and threatening him with death.

Compounding this danger, Respondent refuses to furnish Petitioner, an American citizen, with

any identification or indication of why the United States has placed him in this dangerous

territory after nearly nine months of military detention as an alleged “enemy combatant.” As

Petitioner’s evidence will show, Respondent’s proposed “release” is equivalent to certain danger

and possible death. This violates the Department of Defense’s legal obligations and policies, the

Fifth Amendment to the U.S. Constitution, and the guarantees of habeas corpus.
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       This motion is based on the memorandum of points and authorities submitted herewith,

as well as all declarations, pleadings, and other filings submitted in this action. The grounds for

this application are that an unsafe release in Syria would violate Petitioner’s constitutional and

statutory rights. Additionally, Petitioner will suffer irreparable injury if Respondent is not

enjoined, and the harms Petitioner will suffer absent an injunction far outweigh the harms to

Respondent if a temporary restraining order issues. Finally, the public interest favors the

issuance of a temporary restraining order.



Dated: June 7, 2018                                   Respectfully submitted,

                                                       /s/ Jonathan Hafetz_____________________
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Counsel for Petitioner




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                                        INTRODUCTION

       For almost nine months, the United States has detained Petitioner, an American citizen,

without charge in Iraq. For the first three of those months, the government denied Petitioner

access to a lawyer and a comt. Then, after this Court ordered that he be allowed access to

counsel to file a habeas petition, the government sought to forcibly render Petitioner to the

custody of a foreign government without notice to the Court or to counsel and without legal

authority. Now, after this Comt and the D.C. Circuit rejected the government's effort to

lawlessly render Petitioner-and on the cusp of a hearing to address the legality of Petitioner' s

detention-the government has suddenly decided to "release" Petitioner. But rather than the

restoration of liberty that Petitioner seeks through this habeas action, the government seeks to

transfer Petitioner to and release him into an area that the government itself has repeatedly

described as unsafe, and that is controlled by the same forces who have already demonstrated

their hostility to Petitioner by shooting at him, beating him, and threatening him with death.

       Petitioner does not oppose his release from U.S. custody. To the contrary, he is urgently

seeking the restoration of his liberty. What he opposes is "release" into an area of certain danger

and possible death.

       For the reasons set forth below, this Court should enjoin the government's impending

release of Petitioner in Syria. Petitioner is not asking the Court to specify where he must be

released from custody and restored to libe1ty. He is asking only that the Comt enforce the

bedrock obligation that his release be safe. And if the government either cannot or will not

identify any safe alternative, the Comt plainly has the authority to order Petitioner's release in

the United States if he establishes, as he urgently seeks to do, that his detention is unlawful.
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                                  FACTUAL BACKGROUND

       The United States government intends to bring Petitioner to a war-torn area in Syria that

the government itself has repeatedly described as an active battlefield (from which, it

represented, it initially removed Petitioner for his safety); that official government sources

continue to describe as exceedingly dangerous; and that is controlled by an alliance of militias

called the Syrian Democratic Forces ("SDF"), the same forces who have already demonstrated

their hostility to Petitioner by detaining him, shooting at him, beating him, and threatening him

with death. The government plans to leave Petitioner in this area without any identification,

without any official document authorizing his travel, and without any official statement from the

U.S. government that Petitioner poses no threat. Declaration of Jonathan Hafetz ("Hafetz Deel.")

~ 22. The   government has also refused to secure any assurance from the SDF that Petitioner will

not be targeted and will be permitted safe passage through and out of Syria. Id.   ~ 22.


                                  The perilous situation in Syria

       Syria remains among the most dangerous places on Earth. The war in Syria has caused at

least 470,000 deaths, see Anne Barnard, Death Toll from War in Syria Now 470,000, Group

Finds , N.Y. Times, Feb. 11 , 2016, https://nyti.ms/ lmvfgnn, and has forced more than five

million people to flee the country and seek refuge, see Lizzie Dearden, Syrian Civil War: More

Than Five Million Refugees Flee Conflict as Global Support for Resettlement Wanes,

Independent, Mar. 30, 2017, https://ind.pn/2kV5qxi.

       According to the Department of State, "No part of Syria is safe from violence." U.S .

Dep't of State-Bureau of Consular Aff. , Syria Travel Advisory (Jan. 10, 2018),

https://perma.cc/E5BC-5MLX ("DOS Syria Advisory"). Those U.S. citizens who nonetheless

remain in Syria, according to the State Department, should " [d]raft a will," and inform loved




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ones of "funeral wishes, etc." Id. Even U.S . citizens who possess identification documents face

"dangers traveling within the country and when trying to leave Syria via land borders, given the

diminishing availability of commercial air travel out of Syria." U.S. Dep't of State-Bureau of

Consular Aff. , Syria: Safety and Security, https://perma.cc/PWH9-CNDS (last updated Feb. 20,

2018) ("DOS Syria Information"). Borders controlled by the SDF and other armed groups,

according to the government, "should not be considered safe" and border areas "are frequent

targets of shelling and other attacks and are crowded because of internally-displaced refugees."

Id.

       Similarly, the Depa1tment of Homeland Security has determined that Syria is so unsafe

that Syrian nationals present in the United States must not be forcibly returned to their home

country. In January 2018, the Secretary of Homeland Security published in the Federal Register

the determination that "requiring the return of Syrian nationals (or aliens having no nationality

who last habitually resided in Syria) to Syria would pose a serious threat to their personal

safety." Notice of Extension of the Designation of Syria for Temporary Protected Status, 83 Fed.

Reg. 9329, 9332 (Mar. 5, 2018). The Department of Homeland Security maintains that "Syria is

engulfed in an ongoing civil war marked by brutal violence against civilians, egregious human

rights violations and abuses, and a humanitarian disaster on a devastating scale across the

country." Id. at 9331. Accordingly, the Depa1tment of Homeland Security extended the

"Temporary Protected Status" designation to Syria through September 30, 2019. Id.

                  The SDF's previous abuse of and threats against Petitioner

       The government seeks to return Petitioner to the same area from which he previously fled

danger and violence. In early September 2017, Petitioner was seized by the SDF at a military

checkpoint near                , while fleeing the violence in Syria en route to the American




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embassy in Turkey. Hafetz Deel. ~ 4. Even though Petitioner was unarmed, was traveling with

other civilians, and was seeking refuge from violence, the SDF shot at Petitioner multiple times.

Id.~ 5.   After taking Petitioner into custody, the SDF accused Petitioner of being a member of

ISIS. Id. Petitioner repeatedly denied this allegation and explained that he was fleeing Syria and

seeking his safety. Id.   ~   6.

          Petitioner also told the SDF that he was an American citizen and asked to speak to

representatives of the U.S. government who could assist him. Id.~ 7. The SDF refused

Petitioner's pleas for help. Id.~ 8. Instead, members of the SDF repeatedly beat and threatened

Petitioner. Id. Members of the SDF hit Petitioner in the head, back, and stomach. Id. As a result,

Petitioner suffered severe bruising and dizziness. Id. One SDF soldier threatened to "put a bullet

between [Petitioner's] eyes." Id.

          After holding Petitioner in a cell in            for several hours, the SDF took

Petitioner to

II· Id. ~9 .                                                       Id. Petitioner was blindfolded

and his hands were tied when he was transported t o - . Id. ~ 10.

          The SDF held Petitioner i n - for between 24 and 36 hours. Id. ~ 11. While

there, the SDF again threatened Petitioner with death. Id. The SDF said to Petitioner, "You

should be executed. We should kill you." Id. F r o m -, the SDF brought Petitioner to a




          In-
prison in a city he believes was -           , n e a r -. Id.~ 12. Once again, Petitioner was

blindfolded and his hands were tied when he was transported t o - . Id.

                       the SDF continued to physically abuse and threaten Petitioner. Id.~ 13.

Members of the SDF repeatedly punched Petitioner in the stomach. Id. On one occasion, a

member of the SDF grabbed Petitioner around the throat, held him up against a wall, and




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threatened to break his neck. The SDF held Petitioner i n - for approximately two days.

Id.

        Petitioner continued to tell the SDF he was an American citizen and wanted to speak to

U.S. government officials. Id.~ 14. The SDF refused to believe Petitioner and said he did not

look like an American. Id. Petitioner told the SDF that "not all Americans [were] white or [had]

blue eyes." Id. The SDF also said there were no Americans around to help him. Id.

        Finally, Petitioner persuaded the SDF that he was an American citizen by providing his

social security number. Id.~ 15. The SDF then notified U.S. forces that he was in SDF custody.

Id. U.S. forces took custody of Petitioner from the SDF i n - and brought him to a safe

house nearby, where U.S. agents inten-ogated him almost continuously for two days. Id.~ 16.

U.S. forces then transported Petitioner, blindfolded and shackled, by helicopter to the detention

facility in Iraq, where Petitioner remains today. Id. ~ 17.

        During multiple inteITogations by the United States, Petitioner denied that he was an ISIS

fighter, explained he was fleeing Syria for his safety, and pleaded for the assistance of his

government. Id. ~ 18. Petitioner told U.S. officials that he was fleeing Syria to travel to the U.S .

embassy in Istanbul. Id. ~ 19. Petitioner also described his abuse by SDF soldiers to U.S.

officials, and the injuries inflicted on him by the SDF remained visible to U.S. medical personnel

while he was in U.S. custody. Id.~ 20. For example, a U.S. medical official who examined

Petitioner saw evidence of a head injury and asked Petitioner if he had been beaten on the back

of his head. Id.

                                           ARGUMENT

        To obtain a temporary restraining order, a plaintiff must establish: (1) "that he is likely to

succeed on the merits"; (2) "that he is likely to suffer iITeparable harm in the absence of




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preliminary relief'; (3) "that the balance of equities tips in his favor"; and (4) "that an injunction

is in the public interest." Winter v. Nat. Res. Def Council, Inc., 555 U.S. 7, 20 (2008); Singh v.

Carter, 168 F. Supp. 3d 216, 223 (D.D.C. 2016). Comts in this Circuit have traditionally applied

these factors on a "sliding scale," where a stronger showing on some factors can compensate for

a weaker showing on others. See, e.g., Davenport v. International Brotherhood of Teamsters, 166

F.3d 356, 360-61 (D.C. Cir. 1999). It has been suggested, but not decided, that a likelihood of

success on the merits may be required. See Sherley v. Sebelius, 644 F.3d 388, 392-93 (D.C. Cir.

2011) (citing Winter, 555 U.S. at 20-22). For the reasons set forth below, under either approach,

Petitioner makes the necessary showings here.

I.        Petitioner is likely to succeed in showing that the government may not strand him in
          a dangerous and unstable region dominated by an armed group that has already
          shot at, beaten, and threatened him with death.

          A.     Applicable law and Department of Defense policies absolutely prohibit the
                 unsafe release of all military prisoners, and the Constitution likewise
                 absolutely prohibits the unsafe release of U.S. citizens.

          When the U.S. military takes an individual into custody, no matter the circumstances, it

may not turn around and deliver the prisoner into harm's way. And when the government takes a

U.S. citizen into custody, it has an independent duty under the Constitution to ensme his safety.

          This bedrock legal obligation exists under both domestic and international law, and is

recognized in the Depaitment of Defense' s own internal policies. As the government concedes,

there is no question that when the military decides to release a prisoner, it must provide for his or

her safe release. Declaration of Mark E. Mitchell ("Mitchell Deel. ")~ 4. This obligation applies

to noncitizens who have been found by courts to be enemy combatants; and it certainly applies to

a U.S. citizen who is contesting the lawfulness of his detention through the writ of habeas

corpus.




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       As the Department of Defense itselfrecognizes, "there are no ' law-free zones' in which

detainees are outside the protection of the law." Dep't of Defense, Off. of Gen. Counsel,

Department of Defense Law of War Manual§ 8.1.1 (June 2015), https://www.defense.gov/

Portals/l/Documents/law_war_ manual 15 .pdf ("Law of War Manual"). Thus, ce1tain "baseline

mles" apply to all individuals detained by the Department of Defense, whether or not such

individuals formally qualify as Prisoners of War or Protected Persons under the Geneva

Conventions. Id. Among these non-derogable baseline mles, such as the absolute prohibition on

torturing prisoners, is the requirement that the Department of Defense take measures to ensure

the safety of prisoners it is releasing from custody. Id. § 8.14.3.2. The Depa11ment of Defense's

policies likewise recognize an " obligation to release detainees in a safe and orderly manner." Id.

Thus, they instmct that " detainees should not be released into a situation in which the detainee

would be attacked by hostile elements upon release." Id.

       The requirement of safe release is codified in Alticle 5(4) of the Protocol Additional to

the Geneva Conventions of 12 August 1949, and Relating to the Protection of Victims ofNon-

International Armed Conflicts (Protocol II), June 8, 1977, 1125 U.N.T.S. 609 ("If it is decided to

release persons deprived of their liberty, necessary measures to ensure their safety shall be taken

by those so deciding."). Although the United States has not ratified this Protocol, it has signed it,

and it formally recognizes that the treaty constitutes customary international law binding on the

United States. See, e.g., Almy Judge Advoc. Gen. 's Sch. , Int' l & Operational Law Dep 't,

Operational Law Handbook 14 (2017); Gherebi v. Obama, 609 F. Supp. 2d 43, 57 n.10 (D.D.C.

2009), abrogated on other grounds by Uthman v. Obama, 637 F.3d 400 (D.C. Cir. 2011); see

also Message from the President Transmitting Protocol II to the U.S . Senate, reprinted

in S. Treaty Doc. 100-2, at VIII (1987) ("With the above caveats, the obligations contained in




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Protocol II are no more than a restatement of the rules of conduct with which U.S. military forces

would almost certainly comply as a matter of national policy, constitutional and legal

protections, and common decency.").

       If Petitioner had already been found to be an enemy combatant, this law-of-war

requirement would plainly apply. The government maintains that Petitioner's detention is

governed by the 2001 Authorization for Use of Military Force, Pub. L. No. 107-40, 115 Stat. 224

("AUMF"). The Supreme Court made clear in Hamdi v. Rumsfeld, 542 U.S. 507 (2004), that the

AUMF must be interpreted "based on longstanding law-of-war principles." Id. at 521. And the

government has repeatedly asserted that the AUMF is "informed by the laws of war,'' which

include the 1949 Geneva Conventions and other sources of customary international law. See,

e.g., Redacted Return~ 32, ECF No. 66-1 ("Under the 2001 AUMF, as info1med by the law of

aimed conflict, detention is generally authorized until the end of hostilities."); Brief of

Respondents-Appellees at 24-25, Al Warafi v. Obama, No. 11-5276 (D.C . Cir. Feb. 12, 2012);

Resp. 's Mem. Regai·ding Gov't Detention Authority Relative to Detainees at Guantanamo Bay 1,

In Re: Guantanamo Bay Detainees Litig. , Misc. No. 08-442 (TFH) (D.D.C. Mai-. 13, 2009),

available at https://www.justice.gov/sites/default/files/opa/legacy/2009/03/ l 3/memo-re-det-

auth.pdf ("Principles derived from law-of-wai· rules governing international aimed conflicts . . .

must inform the interpretation of the detention authority Congress has authorized for the current

aimed conflict.").

       If the law-of-wai· principles embedded in the AUMF would regulate Petitioner's

detention, as well as his transfer to the custody of a foreign sovereign, see Doe v. Mattis, 889

F.3d 745, 761-62 (D.C. Cir. 2018), they would necessarily regulate the conditions surrounding

his safe release at the end of his detention. And the same must be true of Petitioner's release




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during the pendency of his habeas petition. Any other result would mean that the military's safe-

release obligation applies to individuals the courts conclude are lawfully detained as enemy

combatants, but not to those who dispute the legality of their detention, including "the errant

tourist, embedded journalist, or local aid worker" detained by mistake. Hamdi, 542 U.S. at 534

(plurality op.). That outcome would flout both international law and human decency, and it

cannot be correct.

       In the case of U.S. citizens, the law-of-war requirement of safe release is independently

guaranteed by the U.S. Constitution. "Citizenship as a head of jurisdiction and a ground of

protection was old when Paul invoked it in his appeal to Caesar. The years have not destroyed

nor diminished the importance of citizenship nor have they sapped the vitality of a citizen's

claims upon his government for protection." Johnson v. Eisentrager, 339 U.S. 763, 769 (1950);

see Valentine v. United States ex rel. Neidecker, 299 U.S. 5, 9 (1936) (reiterating "the

fundamental consideration that the Constitution creates no executive prerogative to dispose of

the liberty of the individual" citizen); Doe, 889 F.3d at 768 ("follow[ing]" the Supreme Court' s

guidance in Hamdi that it is "'vital' [to] 'not give short shrift to the values that this country holds

dear or to the privilege that is American citizenship"' (quoting 542 U.S. at 532)).

       The Fifth Amendment prohibits state officials from acting in a manner that affomatively

creates or increases an individual's risk of harm. See, e.g., Butera v. District of Columbia, 235

F.3d 637, 651 (D.C. Cir. 2001); Monfils v. Taylor, 165 F.3d 511, 517 (7th Cir. 1998). While each

case requires "an exact analysis of circumstances," Cty. ofSacramento v. Lewis, 523 U.S. 833,

850 (1998), the government violates the Constitution when its conduct "shock[s] the

contemporary conscience." Butera, 235 F.3d at 651 (quoting Lewis, 523 U.S. at 847 n.8). As the

D.C. Circuit has explained, "where the State has a heightened obligation toward [an] individual,"




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the government's conduct can shock the conscience through either '"recklessness or gross

negligence."' Id. (quoting Lewis, 523 U.S. at 849); see Fraternal Order of Police Dep 't of Corr.

Labor Comm. v. Williams, 375 F.3d 1141 , 1144 (D.C. Cir. 2004). That kind of elevated duty

arises when, for example, "the State has taken a person into custody" and government "officials

have ' the luxury . . . of . . . time to make unhmTied judgments, upon the chance for repeated

reflection."' Butera, 235 F.3d at 651- 52 (quoting Lewis, 523 U.S. at 853) (alterations in

original). The government owes a similar duty when its agents create or increase the danger to an

individual not in its custody, especially ''where 'actual deliberation is practical. ' " Id. at 652

(quoting Lewis, 523 U.S. at 851 ). Courts have found these kinds of constitutional violations in a

variety of situations, including when police released an individual in a dangerous neighborhood

without taking steps to mitigate the risk of harm, see Paine v. Cason, 678 F.3d 500, 509-10 (7th

Cir. 2012), and when police stranded a car's passenger at night in a high-crime area, see Wood v.

Ostrander, 879 F.2d 583, 590 (9th Cir. 1989).

        Having taken Petitioner into military custody, the Defense Department is obligated to

ensure his safety upon release. Through his habeas petition, Petitioner seeks the restoration of his

liberty through safe release from U.S. custody. The government has now detained Petitioner for

almost nine months without charge, and seems to suggest that Petitioner's release into Syria-

where he would be at immediate risk of bodily harm- would provide all the relief to which

Petitioner is entitled under habeas. But the Great Writ "is not now and never has been a static,

narrow, fo1malistic remedy; its scope has grown to achieve its grand purpose-the protection of

individuals against erosion of their right to be free from wrongful restraints upon their libe1ty."

Jones v. Cunningham, 371 U.S. 236, 243 (1963); Schlup v. Delo, 513 U.S. 298, 299 (1995)

("[H]abeas corpus is, at its core, an equitable remedy."); Boumediene v. Bush, 553 U.S. 723, 779




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(2008) ("[C]ommon-law habeas corpus was, above all, an adaptable remedy. Its precise

application and scope changed depending upon the circumstances."). The "remedy" the

government proposes-abandoning Petitioner, without any identification or assurance of safe

passage, in an unstable zone with no functioning government and which is occupied by forces

that will perceive him as an enemy--does not effectuate the relief habeas co1pus promises, but

rather makes a mocke1y of it. Cf Doe, 889 F.3d at 766 (rejecting the government' s argument that

disposing of an individual so that he is "no longer ... in U.S . custody" is necessarily

"tantamount to" the type of release guaranteed by habeas). In sho1t, trapping Petitioner in the

dangerous country he was attempting to flee, with no access to any U.S. consular services a n -

                                         , see Mitchell. Deel. ~ 5 n .2, is not equitable.

       B.      Stranding Petitioner without identification in a dangerous and unstable
               region dominated by an armed group that has already shot at, beaten, and
               threatened him with death is not safe release.

       The government proposes to abandon Petitioner in an unstable area with no recognized

government in what is, according to the government itself, one of the most dangerous countries

in the world. The government' s own official warnings unde1mine any argument or asse1tion by it

that the proposal constitutes safe release. See Mitchell Deel.~~ 4-5. According to the

government's own official assessments, all U.S. citizens in Syria should leave the country

immediately, and Syrian nationals must not be depo1ted to their home countiy due to the dangers

they would face there. Yet the government's proposal here is not merely to abandon Petitioner in

Syria, but to specifically leave him at the mercy of an armed group that has ah-eady abused him.

The government' s proposal comes nowhere close to meeting the obligation of"safe release."

       For every single U.S. citizen, the government 's safety assessment is categorical: ''No part

of Syiia is safe from violence." DOS Syiia Advisory. Due to "violent, volatile conditions in




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Syria and the ongoing civil war," the government "strongly recommends that U.S. citizens

remaining in Syria depart immediately." DOS Syria Information. Those U.S. citizens who

nonetheless remain in Syria, according to the State Department, should " [d]raft a will," and

inform loved ones of "funeral wishes, etc." DOS Syria Advis01y.

           In this very case, the government has previously and repeatedly argued that the same

region to which it now proposes to return Petitioner is " an active battlefield," see, e.g. , Appellant

Reply Br. 6, 11 , 13, Doe v. Mattis (D.C. Cir. Mar. 16, 2018), ECF No. 1722698, and is so

dangerous that the military was required to remove Petitioner from there to Iraq, see Appellant

Br. 26, Doe v. Mattis (D.C. Cir. Feb. 16, 2018), ECF No. 1718454 (citing Geneva Convention

Relative to the Treatment of Prisoners of War art. 19, Aug. 12, 1949, 6 U.S.T 3316 (requiring

evacuation of prisoners to "an area far enough from the combat zone for them to be out of

danger")) . As recently as April 5, government counsel represented to the D.C. Circuit that

Petitioner "was turned over to the U.S. military during active hostilities, was being held by the

military in that theater of combat," and that there are "ongoing hostilities in the region." Tr. of

Oral Argument 19:1-7, Doe v. Mattis (D.C. Cir. Apr. 5, 2018), ECF No. 1726413,

https ://www.aclu.org/legal-document/ doe-v-mattis-april-5-2018-oral-argument-transcript-dc-

circuit.

           Although-as set forth above-the government advises all U.S. citizens to immediately

leave Syria, Petitioner has little chance of escaping the dangerous situation in which the

government proposes to abandon him. According to the government, even citizens who (unlike

Petitioner) possess valid identification and travel documents have faced " dangers traveling

within the country and when trying to leave Syria via land borders, given the diminishing

availability of commercial air travel out of Syria." DOS Syria Information. Borders controlled by




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Kurdish and other armed groups, according to the government, "should not be considered safe"

and border areas "are frequent targets of shelling and other attacks and are crowded because of

internally-displaced refugees." Id.

       In fact, the government will not even send Syrian nationals to Syria because it recognizes

the grave danger to all persons there. The Department of Homeland Security has determined that

Syria is so unsafe that Syrian nationals present in the United States must not be returned to their

home country. In January 2018, the Secretary of Homeland Security published in the Federal

Register the detennination that "requiring the return of Syrian nationals (or aliens having no

nationality who last habitually resided in Syria) to Syria would pose a serious threat to their

personal safety." Notice of Extension of the Designation of Syria for TPS, 83 Fed. Reg. at 9332

(emphasis added). The Department of Homeland Security's January assessment states that "Syria

is engulfed in an ongoing civil war marked by brutal violence against civilians, egregious human

rights violations and abuses, and a humanitarian disaster on a devastating scale across the

country." Id. at 9331. Accordingly, the Depa1tment of Homeland Security extended "Temporary

Protected Status" designation to Syria through September 30, 2019. Id.

       Compounding the dangers the government's own assessments identify-that Syria is

categorically unsafe for all persons-the Department of Defense proposes to release Petitioner in

a region controlled by an armed group that has already demonstrated its violent intent towards

Petitioner specifically. SDF forces have shot at Petitioner, beaten him, and threatened him with

death. Hafetz Deel. ~~ 5, 8, 11-13. The Department of Defense has been aware of this danger

from the beginning of Petitioner's nearly nine-month-long detention: Contrary to assertions

made in the Mitchell Declaration, Petitioner informed a U.S. military doctor about his abuse at

the hands of the SDF, and the doctor observed marks of abuse still visible on Petitioner's body




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when he was first examined in U.S. custody. Id.~ 20. The government' s own statement of the

laws of war specifically precludes releasing prisoners "into a. situation in which the detainee

would be attacked by hostile elements upon release." Law of War Manual § 8.14.3.2. But that is

precisely what the government proposes to do here.

        The Department of Defense a.sse1ts that it "has taken all necessary and feasible

precautions to ensure" that Petitioner' s release is safe. Mitchell Deel.~ 4. But the government's

justification for that assessment are woefully inadequate, particularly in the face of the

government's various warnings concerning travel to and presence in Syria-evidence that will be

supplemented by independent, expert assessments of the region in connection with a forthcoming

motion for a. preliminary injunction that Petitioner intends to file. The Department of Defense

asserts that Petitioner' s release into Syria. is safe because its chosen drop point is

                                                         Id.~ 5.   But the Department' s focus on the

                           that supposedly characterizes that region                      is a chimera.,

as the Department acknowledges that it

              Id.   ~   5 & n.2. The Department also asse1ts that

                                                                                      Id.~   5. But while

the government's declarant attempts to make life in a. zone with no recognized government seem

ordinary                                              for example-that assessment is based on the

fact that these features have been                                          when the Departments of

State and Homeland Security continue to treat the entire country as exceedingly dangerous in its

entirety. Id. In fa.ct, the region' s instability is so pronounced that the government cmTently warns

all U.S. citizens to immediately leave all parts of Syria because "[a.]ttacks from the regime or

other groups could happen with little or no warning, no part ofSyria should be considered




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immune from violence, and the potential exists throughout the country for unpredictable and

hostile acts , including kidnappings, sniper assaults, ten-orist attacks, small arms fire, improvised

explosives, artillery shelling, airstrikes, the use of chemical weapons, large- and small-scale

bombings, as well as arbitrary anest, detention, and torture." DOS Syria Info1mation (emphasis

added). The Mitchell Declaration does nothing to contradict this assessment-nor could it, as

Syria is indisputably in the midst of a violent and fluid civil war, and lulls in fighting do not

constitute an end of hostilities and danger. Thus, even the extremely limited claims of normalcy

in the Mitchell Declaration do not constitute a serious assurance of safety or stability. 1

       Far from doing anything to mitigate the proven danger to Petitioner from SDF forces, the

government plans to exacerbate it. See Butera, 235 F.3d at 651. The government proposes to

strand Petitioner without identification, official travel documents, or a statement from the U.S.

government that Petitioner poses no threat, in a region lacking a recognized government or U.S.

consular services. Since his initial capture, the government has branded Petitioner an ISIS fighter

and has publicly released a factual return that details the government' s unproven allegations

against him. See Return, ECF No. 66-1 . Yet the government is not willing to secure any

assurance from the SDF-his former captors and abusers-that Petitioner will not be targeted

and will be permitted safe passage through and out of Syria. Hafetz Deel. ~ 22. Without such

assurance, the government's own evidence establishes that the SDF is likely to treat Petitioner as


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  Petitioner expects that the Department of Defense will, once again, claim broad and
umeviewable deference on whether Petitioner's release into Syria will be safe. Any claim to
deference is especially weak here, in the face of coordinate executive departments ' assessments
at clear odds with the Department of Defense's representations. And even if some deference is
due, that deference is far from absolute, and is certainly not decisive. The D.C. Circuit has
already enjoined Petitioner's transfer "respectful of-and with appreciation for-the
considerable deference owed to the Executive' s judgments in the prosecution of a war." Doe,
889 F.3d at 749. "But,'' as that comt put it, "when an alleged enemy combatant-even one seized
on a foreign battlefield- is an American citizen, things are different." Id.


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a hostile threat.



                                                 The government owes U.S. citizens like Petitioner

far more than this. Cf Doe ex rel. Magee v. Covington Cty. Sch. Dist. ex rel. Keys, 675 F.3d 849,

873 (5th Cir. 2012) (Higginson, J., concuning) (" [G]ovemment persons, intentionally or

recklessly or through deliberate indifference, must know they will be held blameful if they cause

a citizen to be subjected to a rights deprivation even if the 'actual violation' is inflicted by a third

person, as would be flue if, for example, a sheriff released a prisoner to a vengeful lynch mob.").

          In sum, the government' s proposal violates the requirement that military detainees be

released to safety and not be exposed to hostile forces. And it shocks the conscience that the

government proposes to abandon a U.S. citizen with no passport, no assurances of safety, and no

means of escaping a counfl·y that his own government has assessed as categorically unsafe for all

U.S. citizens.

          The government's own words are more than sufficient to establish that its proposal is the

polar opposite of "safe" release. But in suppoli of his forthcoming motion for a prelimina1y

injunction, Petitioner will submit additional evidence, including assessments by one or more

experts with first-hand knowledge of the conditions in SDF-controlled tenitory and the celiain

danger Petitioner faces there. In addition, Petitioner will submit an assessment by a retired senior

U.S. militruy official as to the importance of the government's safe-release obligation and the

risks posed by its appru·ent intention to violate that obligation now. Should the Comi require

additional evidence in support of the instant motion, Petitioner is prepru·ed to supplement the

record.




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II.    Petitioner is likely to be irreparably harmed in the absence of an injunction.

       The evidence here is oveiwhehning "that in-eparable injury is likely in the absence of an

injunction." Winter, 555 U.S . at 22 (citing Los Angeles v. Lyons, 461 U.S . 95, 103 (1983)).

According to the State Depaitment, "no part of Syria should be considered immune from

violence, and the potential exists throughout the country for unpredictable and hostile acts,

including kidnappings, sniper assaults, teITorist attacks, small arms fire, improvised explosives,

aitillery shelling, airstrikes, the use of chemical weapons, large- and small-scale bombings, as

well as ai·bitrary a.nest, detention, and t01ture." DOS Syria Information. These factors have

"raised the risk of death or serious injmy" for U.S . citizens in Syria, and "the U.S. government is

unable to provide emergency services to U.S . citizens in Syria." Id. In short, "No pa.it of Syria is

safe from violence." Id. Moreover, Petitioner faces particulai·ly stai·k and obvious risks in the

region in which the government proposes to abandon him: the dominant aimed group in this

region has already shot at him and repeatedly threatened him with death, Hafetz Deel.~~ 8, 11,

13; and SDF forces already profiled him as a hostile foreigner, Return~ 61 , ECF No. 66-1.

Absent an injunction, Petitioner faces grave physical danger and "nearly certain death, the

ultimate irrepai·able injury." Wilson v. Grp. Hospitalization & Med. Servs., Inc. , 791 F. Supp.

309, 314 (D.D.C. 1992).

III.   The balance of harms strongly favors Petitioner.

       Courts must "balance the competing claims of injury [to] consider the effect on each

party of the granting or withholding of the requested relief," Winter, 555 U.S. at 24, and

determine whether the "balance of equities tips in [Petitioner's] favor," In re Navy Chaplaincy,

697 F .3d 1171 , 1178 (D.C. Cir. 2012) (quoting Winter, 555 U.S. at 20). In contrast to the grave

and imminent risks Petitioner faces if transfeITed to and released in Syria, the government has

identified no harm that would be caused by maintaining the status quo.


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       That the balance of equities weighs in favor of Petitioner now is clear when compared to

the D .C. Circuit' s weighing of the equities when the government attempted to forcibly transfer

Petitioner to              . There, the interests of the government had greater weight, yet both

this Court and the D .C. Circuit mled that the balance of the equities tipped in Petitioner's favor.

       When the government previously attempted to relinquish custody of Petitioner t o -

-       the D.C. Circuit found that the government's interests were "manifestly weighty ones."

Doe, 889 F .3d at 766. The government had asserted that at stake was the United States'

"credibility with an imp01tant foreign pa11ner," Declaration of                         ~   8, ECFNo.

77, and that any delay "could adversely affect its willingness to engage with the United States on

some future detainee transfers," id. But even as the D .C. Circuit recognized the government's

interest in " avoid[ing] undue interference" with " its conduct of foreign relations with a coalition

partner" and "its military judgments in connection with ongoing hostilities," the court held that

Petitioner's interests outweighed the government's, and enjoined the transfer. Doe, 889 F.3d at

766-67. Petitioner' s interest here in avoiding grave injury or death is at least as weighty-if not

more so-than Petitioner's interest in avoiding indefinite detention in

        There is no comparison between any possible injury to the government if this Court

temporarily restrained it from releasing Petitioner and the absolute, irreparable harm Petitioner

would suffer if he were abandoned by the United States in a war-torn country, at significant risk

of bodily harm or death, and with no opportunity to escape. Indeed, the government has no

legitimate interest whatsoever in releasing Petitioner into conditions so perilous. For these

reasons, the balance of equities weighs in favor of Petitioner.




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IV.    A temporary restraining order serves the public interest.

       The public interest is served by ensuring that the U.S. government does not transfer and

release a U.S. citizen into harm's way. An American citizen unlawfully detained by the U.S.

government has the absolute right to challenge the detention and to try to secure the right to a

safe release----even in wartime. See Hamdi, 542 U.S. at 536. Just as a forcible transfer to the

custody of another country would not have vindicated Petitioner' s rights under habeas, see Doe,

889 F.3d at 766, neither does his release to a country in which "[n]o part . . . is safe from

violence," DOS Syria Advis01y.

                                          CONCLUSION

       For the foregoing reasons, this Comt should enjoin the government from transporting

Petitioner to Syria and releasing him there.



Dated: June 7, 2018                                   Respectfully submitted,

                                                     Isl Jonathan Hafetz
Althur B. Spitzer (D.C. Bar No. 235960)             Jonathan Hafetz (D.C. Bar No. NY0251)
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Counsel for Petitioner




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                        _____________
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                         UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLUMBIA


JOHN DOE,

                    Petitioner,

                    v.                             No. 17-cv-2069 (TSC)

GEN. JAMES N. MATTIS,
 in his official capacity as SECRETARY OF
 DEFENSE,

                    Respondent.




                                   ECF 97-3


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                                           UNDER SEAL

                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


JOHN DOE,

                        Petitioner,

                        v.                                           No. 17-cv-2069 (TSC)

GEN. JAMES N. MATTIS,                                                UNDER SEAL
 in his official capacity as SECRETARY OF
 DEFENSE,

                        Respondent.


                                     [PROPOSED]
                             TEMPORARY RESTRAINING ORDER

        Upon consideration of Petitioner’s Application for a Temporary Restraining Order, and

the entire record in this case;

        It appears to the Court that: (1) Petitioner is likely to succeed on the merits of his

challenge to Respondent’s proposed release of Petitioner in Syria; (2) if Respondent is not

immediately restrained from releasing Petitioner from U.S. custody into an unsafe area in Syria,

Petitioner is likely to suffer irreparable injury; (3) any harm to Respondent that will result if such

an order is issued is significantly outweighed by the harm to Petitioner that will result if an order

is not issued; and (4) the public interest favors the entry of such an order. It is, therefore,

        ORDERED that Petitioner’s Application for a Temporary Restraining Order is hereby

GRANTED, and that Respondent James N. Mattis (along with his successors in office, officers,

agents, servants, employees, and anyone acting in concert with him) is, for fourteen days from

the date shown below, hereby temporarily restrained from releasing Petitioner from U.S. custody

in Syria.




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                                        UNDER SEAL

      It is further ORDERED that Petitioner shall not be required to furnish security for costs.



Dated: June ____, 2018 at ______ p.m.              _________________________
                                                   TANYA S. CHUTKAN
                                                   United States District Judge




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                         UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLUMBIA


JOHN DOE,

                    Petitioner,

                    v.                             No. 17-cv-2069 (TSC)

GEN. JAMES N. MATTIS,
 in his official capacity as SECRETARY OF
 DEFENSE,

                    Respondent.




                                   ECF 97-4


 REDACTED VERSION FOR PUBLIC FILING
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                                        UNDER SEAL


                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


JOHN DOE,

                      Petitioner,

                      v.                                         No. 17-cv-2069 (TSC)

GEN. JAMES N. MATTIS,                                           UNDER SEAL
 in his official capacity as SECRETARY OF
 DEFENSE,

                      Respondent.



            CERTIFICATE OF COUNSEL REQUIRED BY LOCAL RULE 65.1(a)

       Pursuant to Local Rule 65.1(a), the undersigned counsel for Petitioner hereby certifies as

follows:

       Copies of all pleadings and papers filed by Petitioner on June 7, 2018, have been

delivered to Respondent by email addressed to Kathryn L. Wyer, U.S. Department of Justice,

Civil Division, 20 Massachusetts Avenue, NW, Washington, D.C. 20001

(kathryn.wyer@usdoj.gov), and Terry Marcus Henry, U.S. Department of Justice, Civil Division,

20 Massachusetts Avenue, NW, Washington, D.C. 20001 (terry.henry@usdoj.gov), at

approximately 8 p.m. on June 7, 2018.



Dated: June 7, 2018                               Respectfully submitted,

                                                  /s/ Jonathan Hafetz_____________________
Arthur B. Spitzer (D.C. Bar No. 235960)          Jonathan Hafetz (D.C. Bar No. NY0251)
American Civil Liberties Union                   Dror Ladin (pro hac vice)
 of the District of Columbia                     Anna Diakun
915 15th Street, NW, 2nd Floor                   Brett Max Kaufman (D.C. Bar No. NY0224)
Washington, DC 20005                             Hina Shamsi (D.C. Bar No. MI0071)
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                                 UNDER SEAL

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